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                           Exhibit
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             Outlook


      Re: Cease and Desist on Behalf of Sean Combs

      From Ariel Mitchell <ariel@arielesq.com>
      Date Wed 1/8/2025 4:30 AM
      To     Erica Wolff <EWolff@shertremonte.com>
      Cc     Michael Tremonte <MTremonte@shertremonte.com>; Anna Estevao <AEstevao@shertremonte.com>


      Ms. Wolff-

      First, my name is Ariel Mitchell. Please ONLY refer to me as Ms. Mitchell, not Ms. Mitchell-
      Kidd. The fact that you cannot even get my name right goes to the heart of your
      disingenuous nature of your client and everyone around him.

      You and/or Mr. Combs CANNOT and WILL NOT threaten ME especially not with the poorly
      drafted letter and facts enumerated in your letter.

      This will be my only response.

      Since you are here, will you be waiving service on behalf of my clients Ms. Parham and Ms.
      Grayson? Are you even authorized to do so or are you only authorize to send letters full of
      empty threats?


      Namaste,


      Ariel E. Mitchell, Esq.
      The Law Office of Ariel E. Mitchell, P.A.
      P.O. Box 12864
      Miami, FL 33101
      arielesq.com
      305-903-5835

      From: Erica Wolff <EWolff@shertremonte.com>
      Sent: Monday, January 6, 2025 8:46 PM
      To: Ariel Mitchell <ariel@arielesq.com>
      Cc: Michael Tremonte <MTremonte@shertremonte.com>; Anna Estevao
      <AEstevao@shertremonte.com>
      Subject: Cease and Desist on Behalf of Sean Combs

      Ms. Mitchell-Kidd,

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      Please see attached correspondence.

      -Erica Wolff


                                     Erica A. Wolff
                                     Sher Tremonte LLP

                                     90 Broad Street, 23rd Floor | New York, NY 10004
                                     ewolff@shertremonte.com | tel: 212.202.2679 | fax: 212.202.4156
                                     www.shertremonte.com




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                           Exhibit
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                        Case 3:24-cv-07191-RFL
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                                      TMZ                                                                                                                  Public figure
                                      https://www.tmz.com Ý 2025/01/22 Ý diddy-sues-courtn...

                         Diddy Sues Accuser Courtney Burgess and Lawyer Ariel ...
                                                                                                                                                   Songs       Listen
                         Jan 22, 2025 Ñ The disgraced mogul is suing Courtney Burgess -- a man who
                         appeared as a witness for the grand jury -- and Ariel Mitchell, Burgess' lawyer,
                         for ...



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                         Diddy has Þled a $50 million dollar lawsuit against well-known ...
                                                                Diddy has Þled a $50 million dollar lawsuit against well-known accusers of
                                                                him - Ariel Mitchell-Kidd, Courtney Burgess and Newsnation.

                               1:09



                                      Fortune
                                      https://fortune.com Ý 2025/01/23 Ý sean-diddy-combs-co...

                         Sean 'Diddy' Combs is suing a man who claimed to have ...
                         Jan 23, 2025 Ñ The lawsuit, Þled in federal court in New York City, accuses Courtney Burgess and his
                         lawyer, Ariel Mitchell, of fabricating Òoutrageous ...


                                      ABC News - Breaking News, Latest News and Videos
                                      https://abcnews.go.com Ý wireStory Ý sean-diddy-combs-...

                         Sean 'Diddy' Combs sues man who claimed to ... - ABC News
                         Jan 22, 2025 Ñ The lawsuit, Þled in federal court in New York City, accuses Courtney Burgess and his
                         lawyer, Ariel Mitchell, of fabricating Òoutrageous liesÓ ...


                               New York Post
                         didd0 suing   ariel
                               https://nypost.com Ý 2025/01/23 Ý us-news Ý diddy-Þle...

                         Diddy Þles $50 million defamation suit against grand jury ...
                         Jan 23, 2025 Ñ Sean ÒDiddyÓ Combs Þled a $50 million defamation lawsuit
                         against Courtney Burgess, Ariel Mitchell and Nextstar Media, Inc. á The lawsuit is
                         also ...



                                      Pitchfork
                                      https://pitchfork.com Ý News Ý Legal

                         Sean ÒDiddyÓ Combs Sues Man Who Says He Has ...
                         Jan 23, 2025 Ñ Sean ÒDiddyÓ Combs is suing a man who claimed to be in
                         possession of ßash drives containing footage of the rapper's Òfreak-oûÓ parties.


                                      USA Today
                                      https://www.usatoday.com Ý celebrities Ý 2025/01/22 Ý s...

                         Diddy sues for $50 million over sexual assault video claims
                         Jan 22, 2025 Ñ The lawsuit named Courtney Burgess, Burgess' attorney Ariel
                         Mitchell and NewsNation, the broadcaster that aired an interview with the two in ...




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                        Case 3:24-cv-07191-RFL
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                                E! Online
                                https://www.eonline.com Ý News

                         Sean ÒDiddyÓ Combs Files $50 Million Defamation Lawsuit ...
                         Jan 23, 2025 Ñ In addition to the accuser, Combs is suing their attorney Ariel Mitchell and Nexstar
                         Media Group, which is the parent company of NewsNation, for ...


                                Vocal
                                https://vocal.media Ý geeks Ý sean-combs-pushes-back-...

                         Sean Combs pushes back with a 50 million dollar lawsuit ...
                         Jan 23, 2025 Ñ On Wednesday, Combs Þled a defamation lawsuit in New York
                         federal court against Nexstar Media Inc. (NewsNation), Courtney Burgess, and
                         attorney Ariel Mitchell.




                         What people are sa0ing




                                                                       11:49                        8:38


                           BBC Sounds - Diddy has                  Didd0 Files $50 Million       Didd0 Sues Ariel Mitchell &
                           Þled a $50 million dollar               Defamation Lawsuit Against    Her Client CouNne0 Burgess
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